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                       EXHIBIT A-1




Case 3:11-cv-00519 Document 487 Filed 09/06/16 Page 5 of 18 PageID #: 9286
        UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE
                         Notice of Proposed Class Action Settlement

       You are entitled to a settlement payment as a member of a class of
         Correctional Officers who worked for the Davidson County
           Sheriff’s Office between July 18, 2006 and May 16, 2015.
                   A federal court has authorized this Notice. This is not a solicitation from a lawyer.

         Your legal rights may be affected whether or not you act. READ THIS NOTICE CAREFULLY.

    The proposed class action settlement is for $1,900,000. The majority of this amount will be used to make
     payments to former and current Metro Correctional Officers who submit a Claim Form.

    The class action settlement resolves claims that Metro paid its Correctional Officers (CO1, CO2, and CO3) less
     than the Metro Pay Plan required Metro to pay them for regularly scheduled work.

    The lawyers who were approved by the Court to represent the class of correctional officers will ask the Court for
     33% (or $633,333.33) of the $1,900,000 settlement amount to pay for their fees associated with the class claims.
     The lawyers will also ask the Court for reimbursement of the $84,908.83 in expenses that they have spent on this
     case to advance the class claims. The lawyers have not been paid anything yet, and will not be paid unless the
     employees obtain a recovery.

    The two sides disagree as to whether Metro violated the law and disagree as to the value of the employees’ class
     claims. However, in light of the risk and expense of proceeding with litigation, Metro, the Class Representative,
     and Class Counsel for the Plaintiffs all believe this is a fair settlement of the class claims.

     TO RECEIVE THE PAYMENTS YOU ARE OWED FROM THIS SETTLEMENT, YOU MUST
       COMPLETE AND RETURN THE ENCLOSED CLAIM FORM BY SEPTEMBER 26, 2016

                        SUMMARY OF YOUR LEGAL RIGHTS AND OPTIONS
    SUBMIT THE ENCLOSED
        CLAIM FORM               This is the only way to receive a payment.
    BY SEPTEMBER 26, 2016
                                 If you affirmatively exclude yourself (i.e., “opt out” of the case), you will receive
                                 no payment from this settlement. However, you can pursue your claims
     EXCLUDE YOURSELF
                                 separately against Metro by filing a separate case. The steps to exclude yourself
                                 are explained below.
                                 If you wish to challenge the terms of this settlement, you may file an objection
     OBJECT (AND, IF YOU         with the Court, setting forth the reasons why you oppose the settlement. You may
     CHOOSE, GO TO THE           also appear in Court and explain why you do not like the settlement or you may
     FAIRNESS HEARING)           hire your own attorney to appear for you. Note that you can exclude yourself or
                                 object, but you cannot do both. You can both object and file a claim form.

                                 If you do nothing, you will not receive a payment from the settlement, but you
        DO NOTHING
                                 will still give up the right to pursue any of the claims covered by this settlement.


     The Court still must grant final approval of the settlement. Payments will be made only after final approval and
     after any appeals are resolved. Please be patient, as this process will take several months, or longer.

   DO NOT CONTACT THE COURT WITH ANY QUESTIONS REGARDING THIS SETTLEMENT
   OR THE CLAIMS PROCESS. ALL QUESTIONS REGARDING THE SETTLEMENT SHOULD BE
DIRECTED TO THE SETTLEMENT ADMINISTRATOR OR CLASS COUNSEL (IDENTIFIED BELOW). 

                                         QUESTIONS? Call 1-866-742-4955
       Case 3:11-cv-00519 Document 487 Filed 09/06/16 Page 6 of 18 PageID #: 9287
1. WHY SHOULD I READ THIS NOTICE?

  Because your rights may be affected. You are a class member in the class action lawsuit titled Vonda Noel v.
  Metropolitan Government of Nashville and Davidson County, TN, Case No. 3:11-cv-519 (M.D. Tenn.). A
  settlement has been reached in the case, subject to the Court’s approval. The Court has ordered that this Notice be
  sent to you so that you can be fully informed about the settlement and your options related to the settlement. As a
  member of the certified class of correctional officers, you are entitled to payment pursuant to the settlement.

2. WHAT ARE THE CLASS CLAIMS ABOUT?

  The class claims are about whether Metro paid its correctional officers a lower hourly wage than Metro was
  obligated to pay under the Metro Pay Plan for regularly scheduled work. The class alleges that Metro was
  contractually obligated to pay correctional officers the hourly rates listed in the Pay Plan. The class also alleges
  that Metro was unjustly enriched as a result of paying correctional officers at lower hourly rates than those set
  forth in the Pay Plan.

3. WHAT IS A CLASS ACTION?

  A class action is a lawsuit in which one or a few plaintiffs bring suit on behalf of all the members of a similarly
  situated group to pursue a judgment for all members of the group. Class actions may be used by courts when the
  legal claims and evidence appear to raise issues of law or fact that are common to all members of the class,
  thereby making it fair to bind all class members to any orders and any judgment in the case.

4. WHAT ARE THE SETTLEMENT TERMS?

  The Court has granted preliminary approval of this proposed settlement. The Court has not yet granted final
  approval of the settlement. Final approval will take place only after a Final Fairness Hearing, at which Class
  Members (such as you) will have an opportunity, if they desire, to comment on the proposed settlement. You are,
  however, not required to attend this hearing.

        a.      How Much Money Is Metro Paying, And How Will It Be Divided?

  The Court will be asked to approve the following division of the $1,900,000 settlement:

      $1,130,280.95:   This amount will be divided among the Class Members who submit the enclosed
                       Claim Form in direct proportion to (1) the length of each Class Member’s tenure as a Metro
                       Correctional Officer between July 18, 2006 and May 16, 2015, and (2) the Class Member’s
                       historic rates of pay. This amount will also be used to pay all applicable employment taxes
                       to the appropriate agencies.
        $31,500.00:    This amount will be divided among Vonda Noel, Mike Murphy, and the 19 individuals
                       who spent significant time completing written discovery requests, sitting for depositions
                       during this litigation, and testifying at trial. These payments are referred to in this Notice
                       as Service Payments.
        $19,976.89:    This amount will be paid to the Settlement Administrator for administering the settlement.
        $84,908.83:    This amount will reimburse Class Counsel for expenses they have paid during this case.
       $633,333.33:    This amount will be paid as attorneys’ fees to compensate Class Counsel for the work they
                       have performed representing the Class and pursuing these claims.



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                                        QUESTIONS? Call 1-866-742-4955 
   
      Case 3:11-cv-00519 Document 487 Filed 09/06/16 Page 7 of 18 PageID #: 9288
       b.      What Are You Giving Up In Exchange For This Money?

       If you do not exclude yourself from the settlement, you will be deemed to have given a complete release of all
       claims related to the case. In other words, you will not be able to bring any claims alleging the same sort of
       violations based on the same sort of facts. If the Court grants final approval to the settlement, the Court will
       enter a final judgment and dismiss all of the claims described in this Notice and the Settlement Agreement
       with prejudice.

5. HOW DO I RECEIVE A PAYMENT FROM THE SETTLEMENT?

  In order to receive a payment, you must complete and sign the enclosed Claim Form and mail or e-mail it
  to the Settlement Administrator. There is a postage pre-paid, self-addressed, envelope included with this
  Notice. Your Claim Form must be mailed by first class mail and postmarked no later than September 26, 2016 or
  emailed no later than September 26, 2016. The Claim Form should be sent to:

                                         RG/2 Claims Administration, LLC
                                         ATTN: Noel v. Metro Settlement
                                                 P.O. Box 59479
                                          Philadelphia, PA 19102-9479
                                              info@rg2claims.com

  If you lose, misplace, or need another Claim Form, or if you believe you have not been sent the necessary forms,
  you should contact the Settlement Administrator (866-742-4955).

6. DO I HAVE TO PARTICIPATE IN THIS SETTLEMENT?

  No. However, if you wish to exclude yourself (or opt out) from the settlement, you must submit a letter
  requesting exclusion. Your request for exclusion must be signed by you personally, and it must clearly state:
  (1) your name, address, and telephone number, and (2) your wish to be excluded from the Settlement Class.

  Your letter requesting exclusion must be delivered to the Settlement Administrator, postmarked on or
  before August 22, 2016, and mailed to: RG/2 Claims Administration, LLC, ATTN: Noel v. Metro
  Settlement, P.O. Box 59479, Philadelphia, PA 19102-9479.

  If you submit a properly completed and timely request for exclusion, you will not be bound by the settlement and
  you will not be eligible to receive a settlement payment. Moreover, if you opt out, you will not be entitled to
  object to the settlement or to appear and be heard at the Final Fairness Hearing.

  If you do not request exclusion in the manner and time prescribed, you will be bound by the settlement and
  will release claims you may have against Metro, even if you do not submit a Claim Form.

  DO NOT SUBMIT BOTH A REQUEST FOR EXCLUSION AND A CLAIM FORM. If you submit both,
  and if the Settlement Administrator is unable to contact you to ascertain your intent, the request for exclusion will
  be deemed invalid, the timely Claim Form will be accepted for payment pursuant to the terms of the settlement,
  and you will be bound by the terms of the settlement.

7. CAN I OBJECT TO THIS SETTLEMENT?

  Yes. The Court has scheduled a Final Fairness Hearing on Monday, September 12, 2016 at 10:30 A.M. in
  Courtroom A826 of the Middle District of Tennessee, which is located at 801 Broadway, Nashville, Tennessee,

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                                       QUESTIONS? Call 1-866-742-4955 
   
      Case 3:11-cv-00519 Document 487 Filed 09/06/16 Page 8 of 18 PageID #: 9289
  37203, to hear evidence and testimony regarding whether final approval should be given to the proposed
  settlement. The Court may continue the time and date of the hearing without further notice. The Class Counsel
  will submit their request for final approval of the settlement on or before September 5, 2016.

  You can ask the Court to deny approval by filing an objection. You cannot ask the Court to order a larger
  settlement; the Court can only approve or deny the settlement as presented to it by the parties. If the Court denies
  approval, no settlement payments will be made and the lawsuit will continue. If that is what you want to happen,
  you must object. You may object to the proposed settlement in writing. You may also appear at the Final Fairness
  Hearing, either in person or through your own attorney. If you appear through your own attorney, you are
  responsible for paying that attorney.

  All written objections and supporting papers must: (a) clearly identify the case name and number (Noel v.
  Metropolitan Government of Nashville and Davidson County, TN, Case No. 3:11-cv-519), (b) be submitted to the
  Court either in person or by mailing them to the Clerk of Court, United States District Court for the Middle
  District of Tennessee, Nashville Division, 801 Broadway, Room 800, Nashville, TN 37203, and (c) be filed or
  postmarked on or before August 22, 2016.

8. WHAT HAPPENS IF THE SETTLEMENT DOES NOT BECOME FINAL?

  If the settlement is not approved by the Court or is later terminated, you will receive no payment or benefits under
  the settlement, the lawsuit will proceed as active litigation, and you will not be bound by the releases in the
  settlement.

9. WHO REPRESENTS THE CLASS?

  Vonda Noel is the class representative who represents the interests of Class Members in this litigation. Noel and
  the Class Members are represented by David W. Garrison at Barrett Johnston Martin & Garrison, LLC; 414 Union
  Street, Suite 900; Nashville, TN 37219; dgarrison@barrettjohnston.com; (615) 244-2202.

10. OTHER THAN CLASS MEMBERS, WHO IS BEING PAID UNDER THE SETTLEMENT AND WHY?

  Subject to approval of the Court, Class Counsel’s attorneys’ fees and costs, the Service Awards, the Settlement
  Administrator’s costs, and all employment taxes shall be also paid from the proposed settlement amount. In
  connection with the Final Fairness Hearing on September 12, 2016, Class Counsel will make a request for the
  Court to approve the distribution of funds set forth in Section 4a on Page 2 of this Notice.

11. HOW DO I OBTAIN ADDITIONAL INFORMATION?

  This Notice is intended only to provide a summary of the circumstances surrounding the case, the terms of the
  proposed settlement, and related matters. In case there is any discrepancy between this Notice and the Settlement
  Agreement, the terms of the Settlement Agreement will control.

  You can request a copy of the Settlement Agreement by contacting Class Counsel at (615) 244-2202. You can
  also access the Court’s docket in this case through the Court’s Public Access to Court Electronic Records
  (PACER) system at https:/ecf.tnmd.uscourts.gov, or by visiting the office of the Clerk of the Court for the United
  States District for the Middle District of Tennessee in Nashville, Tennessee, between 9:00 a.m. and 4:00 p.m.,
  Monday through Friday, excluding Court holidays.


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                                      QUESTIONS? Call 1-866-742-4955 
   
      Case 3:11-cv-00519 Document 487 Filed 09/06/16 Page 9 of 18 PageID #: 9290
 CLASS ACTION SETTLEMENT CLAIM FORM
        Noel v. Metro. Gov’t of Nashville & Davidson County, TN
                    (Case Number 3:11-cv-519, M.D. Tenn.)

  THIS FORM MUST BE POSTMARKED OR E-MAILED BY SEPTEMBER 26, 2016,
   OR YOU WILL NOT RECEIVE A CLASS ACTION SETTLEMENT PAYMENT


To receive a settlement payment for the class action claim that you were paid less
than the Metro Pay Plan required Metro to pay you, you must sign, date, and
complete this form, and you must then mail or email the completed form to the
Settlement Administrator on or before September 26, 2016.


      Send This Completed Form to the Settlement Administrator by Using
            The Enclosed Business Reply Envelope or as Follows:

                       RG2 Claims Administration, LLC
                        ATTN: Noel v. Metro Settlement
                                P.O. Box 59479
                         Philadelphia, PA 19102-9479
                              info@rg2claims.com
                        Phone Number: (866) 742-4955


_____________________________________    Date: ________________________________
SIGNATURE

_____________________________________    _____________________________________
NAME (Please Print Clearly)              LAST 4 DIGITS SOCIAL SECURITY NO.

_____________________________________    _____________________________________
STREET ADDRESS                           PHONE NUMBER

_____________________________________    _____________________________________
CITY, STATE, ZIP CODE                    E-MAIL ADDRESS



       IF YOU DO NOT SEND THIS COMPLETED FORM
      TO THE ADMINISTRATOR BY SEPTEMBER 26, 2016
   YOU WILL NOT RECEIVE A PAYMENT FOR THESE CLAIMS



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                        EXHIBIT A-2




Case 3:11-cv-00519 Document 487 Filed 09/06/16 Page 11 of 18 PageID #: 9292
        UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE
                         Notice of Proposed Class Action Settlement

       You are entitled to a settlement payment as a member of a class of
         Correctional Officers who worked for the Davidson County
           Sheriff’s Office between July 18, 2006 and May 16, 2015.
                   A federal court has authorized this Notice. This is not a solicitation from a lawyer.

         Your legal rights may be affected whether or not you act. READ THIS NOTICE CAREFULLY.

    The proposed class action settlement is for $1,900,000. The majority of this amount will be used to make
     payments to former and current Metro Correctional Officers who submit a Claim Form.

    The class action settlement resolves claims that Metro paid its Correctional Officers (CO1, CO2, and CO3) less
     than the Metro Pay Plan required Metro to pay them for regularly scheduled work.

    The lawyers who were approved by the Court to represent the class of correctional officers will ask the Court for
     33% (or $633,333.33) of the $1,900,000 settlement amount to pay for their fees associated with the class claims.
     The lawyers will also ask the Court for reimbursement of the $84,908.83 in expenses that they have spent on this
     case to advance the class claims. The lawyers have not been paid anything yet, and will not be paid unless the
     employees obtain a recovery.

    The two sides disagree as to whether Metro violated the law and disagree as to the value of the employees’ class
     claims. However, in light of the risk and expense of proceeding with litigation, Metro, the Class Representative,
     and Class Counsel for the Plaintiffs all believe this is a fair settlement of the class claims.

     TO RECEIVE THE PAYMENTS YOU ARE OWED FROM THIS SETTLEMENT, YOU MUST
       COMPLETE AND RETURN THE ENCLOSED CLAIM FORM BY SEPTEMBER 26, 2016

                        SUMMARY OF YOUR LEGAL RIGHTS AND OPTIONS
    SUBMIT THE ENCLOSED
        CLAIM FORM               This is the only way to receive a payment.
    BY SEPTEMBER 26, 2016
                                 If you affirmatively exclude yourself (i.e., “opt out” of the case), you will receive
                                 no payment from this settlement. However, you can pursue your claims
     EXCLUDE YOURSELF
                                 separately against Metro by filing a separate case. The steps to exclude yourself
                                 are explained below.
                                 If you wish to challenge the terms of this settlement, you may file an objection
     OBJECT (AND, IF YOU         with the Court, setting forth the reasons why you oppose the settlement. You may
     CHOOSE, GO TO THE           also appear in Court and explain why you do not like the settlement or you may
     FAIRNESS HEARING)           hire your own attorney to appear for you. Note that you can exclude yourself or
                                 object, but you cannot do both. You can both object and file a claim form.

                                 If you do nothing, you will not receive a payment from the settlement, but you
        DO NOTHING
                                 will still give up the right to pursue any of the claims covered by this settlement.


     The Court still must grant final approval of the settlement. Payments will be made only after final approval and
     after any appeals are resolved. Please be patient, as this process will take several months, or longer.

   DO NOT CONTACT THE COURT WITH ANY QUESTIONS REGARDING THIS SETTLEMENT
   OR THE CLAIMS PROCESS. ALL QUESTIONS REGARDING THE SETTLEMENT SHOULD BE
DIRECTED TO THE SETTLEMENT ADMINISTRATOR OR CLASS COUNSEL (IDENTIFIED BELOW). 

                                         QUESTIONS? Call 1-866-742-4955
       Case 3:11-cv-00519 Document 487 Filed 09/06/16 Page 12 of 18 PageID #: 9293
1. WHY SHOULD I READ THIS NOTICE?

  Because your rights may be affected. You are a class member in the class action lawsuit titled Vonda Noel v.
  Metropolitan Government of Nashville and Davidson County, TN, Case No. 3:11-cv-519 (M.D. Tenn.). A
  settlement has been reached in the case, subject to the Court’s approval. The Court has ordered that this Notice be
  sent to you so that you can be fully informed about the settlement and your options related to the settlement. As a
  member of the certified class of correctional officers, you are entitled to payment pursuant to the settlement.

2. WHAT ARE THE CLASS CLAIMS ABOUT?

  The class claims are about whether Metro paid its correctional officers a lower hourly wage than Metro was
  obligated to pay under the Metro Pay Plan for regularly scheduled work. The class alleges that Metro was
  contractually obligated to pay correctional officers the hourly rates listed in the Pay Plan. The class also alleges
  that Metro was unjustly enriched as a result of paying correctional officers at lower hourly rates than those set
  forth in the Pay Plan.

3. WHAT IS A CLASS ACTION?

  A class action is a lawsuit in which one or a few plaintiffs bring suit on behalf of all the members of a similarly
  situated group to pursue a judgment for all members of the group. Class actions may be used by courts when the
  legal claims and evidence appear to raise issues of law or fact that are common to all members of the class,
  thereby making it fair to bind all class members to any orders and any judgment in the case.

4. WHAT ARE THE SETTLEMENT TERMS?

  The Court has granted preliminary approval of this proposed settlement. The Court has not yet granted final
  approval of the settlement. Final approval will take place only after a Final Fairness Hearing, at which Class
  Members (such as you) will have an opportunity, if they desire, to comment on the proposed settlement. You are,
  however, not required to attend this hearing.

        a.      How Much Money Is Metro Paying, And How Will It Be Divided?

  The Court will be asked to approve the following division of the $1,900,000 settlement:

      $1,130,280.95:   This amount will be divided among the Class Members who submit the enclosed
                       Claim Form in direct proportion to (1) the length of each Class Member’s tenure as a Metro
                       Correctional Officer between July 18, 2006 and May 16, 2015, and (2) the Class Member’s
                       historic rates of pay. This amount will also be used to pay all applicable employment taxes
                       to the appropriate agencies.
        $31,500.00:    This amount will be divided among Vonda Noel, Mike Murphy, and the 19 individuals
                       who spent significant time completing written discovery requests, sitting for depositions
                       during this litigation, and testifying at trial. These payments are referred to in this Notice
                       as Service Payments.
        $19,976.89:    This amount will be paid to the Settlement Administrator for administering the settlement.
        $84,908.83:    This amount will reimburse Class Counsel for expenses they have paid during this case.
       $633,333.33:    This amount will be paid as attorneys’ fees to compensate Class Counsel for the work they
                       have performed representing the Class and pursuing these claims.



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                                        QUESTIONS? Call 1-866-742-4955 
   
      Case 3:11-cv-00519 Document 487 Filed 09/06/16 Page 13 of 18 PageID #: 9294
       b.      What Are You Giving Up In Exchange For This Money?

       If you do not exclude yourself from the settlement, you will be deemed to have given a complete release of all
       claims related to the case. In other words, you will not be able to bring any claims alleging the same sort of
       violations based on the same sort of facts. If the Court grants final approval to the settlement, the Court will
       enter a final judgment and dismiss all of the claims described in this Notice and the Settlement Agreement
       with prejudice.

5. HOW DO I RECEIVE A PAYMENT FROM THE SETTLEMENT?

  In order to receive a payment, you must complete and sign the enclosed Claim Form and mail or e-mail it
  to the Settlement Administrator. There is a postage pre-paid, self-addressed, envelope included with this
  Notice. Your Claim Form must be mailed by first class mail and postmarked no later than September 26, 2016 or
  emailed no later than September 26, 2016. The Claim Form should be sent to:

                                         RG/2 Claims Administration, LLC
                                         ATTN: Noel v. Metro Settlement
                                                 P.O. Box 59479
                                          Philadelphia, PA 19102-9479
                                              info@rg2claims.com

  If you lose, misplace, or need another Claim Form, or if you believe you have not been sent the necessary forms,
  you should contact the Settlement Administrator (866-742-4955).

6. DO I HAVE TO PARTICIPATE IN THIS SETTLEMENT?

  No. However, if you wish to exclude yourself (or opt out) from the settlement, you must submit a letter
  requesting exclusion. Your request for exclusion must be signed by you personally, and it must clearly state:
  (1) your name, address, and telephone number, and (2) your wish to be excluded from the Settlement Class.

  Your letter requesting exclusion must be delivered to the Settlement Administrator, postmarked on or
  before August 22, 2016, and mailed to: RG/2 Claims Administration, LLC, ATTN: Noel v. Metro
  Settlement, P.O. Box 59479, Philadelphia, PA 19102-9479.

  If you submit a properly completed and timely request for exclusion, you will not be bound by the settlement and
  you will not be eligible to receive a settlement payment. Moreover, if you opt out, you will not be entitled to
  object to the settlement or to appear and be heard at the Final Fairness Hearing.

  If you do not request exclusion in the manner and time prescribed, you will be bound by the settlement and
  will release claims you may have against Metro, even if you do not submit a Claim Form.

  DO NOT SUBMIT BOTH A REQUEST FOR EXCLUSION AND A CLAIM FORM. If you submit both,
  and if the Settlement Administrator is unable to contact you to ascertain your intent, the request for exclusion will
  be deemed invalid, the timely Claim Form will be accepted for payment pursuant to the terms of the settlement,
  and you will be bound by the terms of the settlement.

7. CAN I OBJECT TO THIS SETTLEMENT?

  Yes. The Court has scheduled a Final Fairness Hearing on Monday, September 12, 2016 at 10:30 A.M. in
  Courtroom A826 of the Middle District of Tennessee, which is located at 801 Broadway, Nashville, Tennessee,

                                                  -3-
                                       QUESTIONS? Call 1-866-742-4955 
   
      Case 3:11-cv-00519 Document 487 Filed 09/06/16 Page 14 of 18 PageID #: 9295
  37203, to hear evidence and testimony regarding whether final approval should be given to the proposed
  settlement. The Court may continue the time and date of the hearing without further notice. The Class Counsel
  will submit their request for final approval of the settlement on or before September 5, 2016.

  You can ask the Court to deny approval by filing an objection. You cannot ask the Court to order a larger
  settlement; the Court can only approve or deny the settlement as presented to it by the parties. If the Court denies
  approval, no settlement payments will be made and the lawsuit will continue. If that is what you want to happen,
  you must object. You may object to the proposed settlement in writing. You may also appear at the Final Fairness
  Hearing, either in person or through your own attorney. If you appear through your own attorney, you are
  responsible for paying that attorney.

  All written objections and supporting papers must: (a) clearly identify the case name and number (Noel v.
  Metropolitan Government of Nashville and Davidson County, TN, Case No. 3:11-cv-519), (b) be submitted to the
  Court either in person or by mailing them to the Clerk of Court, United States District Court for the Middle
  District of Tennessee, Nashville Division, 801 Broadway, Room 800, Nashville, TN 37203, and (c) be filed or
  postmarked on or before August 22, 2016.

8. WHAT HAPPENS IF THE SETTLEMENT DOES NOT BECOME FINAL?

  If the settlement is not approved by the Court or is later terminated, you will receive no payment or benefits under
  the settlement, the lawsuit will proceed as active litigation, and you will not be bound by the releases in the
  settlement.

9. WHO REPRESENTS THE CLASS?

  Vonda Noel is the class representative who represents the interests of Class Members in this litigation. Noel and
  the Class Members are represented by David W. Garrison at Barrett Johnston Martin & Garrison, LLC; 414 Union
  Street, Suite 900; Nashville, TN 37219; dgarrison@barrettjohnston.com; (615) 244-2202.

10. OTHER THAN CLASS MEMBERS, WHO IS BEING PAID UNDER THE SETTLEMENT AND WHY?

  Subject to approval of the Court, Class Counsel’s attorneys’ fees and costs, the Service Awards, the Settlement
  Administrator’s costs, and all employment taxes shall be also paid from the proposed settlement amount. In
  connection with the Final Fairness Hearing on September 12, 2016, Class Counsel will make a request for the
  Court to approve the distribution of funds set forth in Section 4a on Page 2 of this Notice.

11. HOW DO I OBTAIN ADDITIONAL INFORMATION?

  This Notice is intended only to provide a summary of the circumstances surrounding the case, the terms of the
  proposed settlement, and related matters. In case there is any discrepancy between this Notice and the Settlement
  Agreement, the terms of the Settlement Agreement will control.

  You can request a copy of the Settlement Agreement by contacting Class Counsel at (615) 244-2202. You can
  also access the Court’s docket in this case through the Court’s Public Access to Court Electronic Records
  (PACER) system at https:/ecf.tnmd.uscourts.gov, or by visiting the office of the Clerk of the Court for the United
  States District for the Middle District of Tennessee in Nashville, Tennessee, between 9:00 a.m. and 4:00 p.m.,
  Monday through Friday, excluding Court holidays.


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                                      QUESTIONS? Call 1-866-742-4955 
   
      Case 3:11-cv-00519 Document 487 Filed 09/06/16 Page 15 of 18 PageID #: 9296
BARRETT JOHNSTON                                                                 David W. Garrison and Scott P. Tift
                                                                                       dgarrison@barrettjohnston.com
M A R T I N & G A R R I S O N LLC                                                           stift@barrettjohnston.com
      
   NOTICE OF SETTLEMENT OF OFF-THE-CLOCK CLAIMS
     To:       All individuals who affirmatively joined the collective
               Off-The-Clock claims by mailing a Consent-to-Join
               Form to Barrett Johnston Martin & Garrison, LLC

              Re:      Settlement of Collective Off-The-Clock Claims

            You are receiving this notice in addition to the four-page Notice included with this
     mailing because you are entitled to receive a settlement payment for post-shift unpaid work, in
     addition to the settlement payment addressed in the four-page Notice.

            This lawsuit involved two classes of correctional officers. The first class pursued claims
     for post-shift, unpaid work. Individuals had to affirmatively join this class. The second class
     pursued claims that Metro had unjustly paid its correctional officers at lower hourly rates than
     the hourly rates set forth in the Metro Pay Plan for all regularly-scheduled work. Individuals
     were automatically included in this second class unless they affirmatively excluded themselves
     from the class. You are a member of both classes, and both classes’ claims have been settled.

            You must return the enclosed Claim Form to the Settlement Administrator to
     receive a settlement payment for the underpaid regular work claim, which is the larger of
     the two payments. You do not have to do anything to receive your settlement payment for the
     post-shift, unpaid work claim.

            If your mailing address has changed in the past several years, we strongly recommend
     that you call the settlement administrator to update or confirm your mailing address to make sure
     that you receive your settlement check. If you do not do so, your check might be mailed to an
     old address, and you will ultimately lose your right to be paid out of the settlement if the check
     does not reach you promptly. The Settlement Administrator’s phone number is (866) 742-4955.

              As always, please call us at (615) 244-2202 if you have any questions.
               
                                                     Sincerely,




                         David W. Garrison                                 Scott P. Tift




   BANK OF AMERICA PLAZA - 414 UNION STREET, SUITE 900 NASHVILLE, TENNESSEE 37219 - PHONE: 615-244-2202 - FAX: 615-252-3798
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 CLASS ACTION SETTLEMENT CLAIM FORM
        Noel v. Metro. Gov’t of Nashville & Davidson County, TN
                    (Case Number 3:11-cv-519, M.D. Tenn.)

  THIS FORM MUST BE POSTMARKED OR E-MAILED BY SEPTEMBER 26, 2016,
   OR YOU WILL NOT RECEIVE A CLASS ACTION SETTLEMENT PAYMENT


To receive a settlement payment for the class action claim that you were paid less
than the Metro Pay Plan required Metro to pay you, you must sign, date, and
complete this form, and you must then mail or email the completed form to the
Settlement Administrator on or before September 26, 2016.


      Send This Completed Form to the Settlement Administrator by Using
            The Enclosed Business Reply Envelope or as Follows:

                       RG2 Claims Administration, LLC
                        ATTN: Noel v. Metro Settlement
                                P.O. Box 59479
                         Philadelphia, PA 19102-9479
                              info@rg2claims.com
                        Phone Number: (866) 742-4955


_____________________________________    Date: ________________________________
SIGNATURE

_____________________________________    _____________________________________
NAME (Please Print Clearly)              LAST 4 DIGITS SOCIAL SECURITY NO.

_____________________________________    _____________________________________
STREET ADDRESS                           PHONE NUMBER

_____________________________________    _____________________________________
CITY, STATE, ZIP CODE                    E-MAIL ADDRESS



       IF YOU DO NOT SEND THIS COMPLETED FORM
      TO THE ADMINISTRATOR BY SEPTEMBER 26, 2016
   YOU WILL NOT RECEIVE A PAYMENT FOR THESE CLAIMS



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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing Declaration of Melissa E. Baldwin
was filed electronically with the Clerk’s office by using the CM/ECF system and was served
electronically upon the following on September 6, 2016:

       Allison S. Bussell
       Klein Bussell, PLLC
       814 Church Street, Suite 202
       Nashville, TN 37203
       allison.bussell@thekleinlawoffice.com

       Christopher M. Lackey
       R. Alex Dickerson
       Metropolitan Department of Law
       108 Metropolitan Courthouse
       P.O. Box 196300
       Nashville, TN 37219-6300
       chris.lackey@nashville.gov
       alex.dickerson@nashville.gov



                                                  /s/ David W. Garrison
                                                  DAVID W. GARRISON
                                                  BARRETT JOHNSTON
                                                      MARTIN & GARRISON, LLC




                                                  1

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